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EXHIBIT A
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Munley Law, PC

The Forum Plaza - 227 Penn Avenue
Scranton, PA 18503

570-346-7401

Anapol Weis

8700 E. Vista Bonita Drive, Suite 268
Scottsdale, AZ 85255

480-515-4745

DANIELLE M. LEONE and JACOB : IN THE COURT OF COMMON PLEAS
M. LEONE, individually and as : OF LACK WANNA COUNTY
plenary co-guardians of the Estate and
Person of CALEB LEONE and
CALEB LEONE, Individually,
Plaintiffs : CIVIL ACTION ©
: JURY TRIAL DEMANDED
v.
RIDDELL, INC.,

BRG SPORTS, INC.,
RIDDELL SPORTS GROUP, INC.,
RIDDELL/ALL AMERICAN
SPORTS CORPORATION and :
Defendants : NO. 20-CV-3169

NOTICE

You have been sued in Court. If you wish to defend against the claims set forth in the
following pages, you must take action within 20 days after this complaint and notice are served,
by entering a written appearance personally or by attorney and filing in writing with the Court
your defenses or objections to the claims set forth against you. You are warned that if you fail to
do so the case may proceed without you and a judgment may be entered against you by the Court
without further notice for any money claimed in the complaint or for any other claim or relief
requested by the plaintiff. You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS
OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.
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Northern PA Legal Services, Inc.
33 North Main Street, Suite 200
Pittston, PA 18640
570-299-4100

Pennsylvania Lawyer Referral Service

Lackawanna Bar Association Lawyer Referral Service
233 Penn Avenue

Scranton, PA 18503

570-969-9161
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DANIELLE M. LEONE and JACOB : IN THE COURT OF COMMON PLEAS
M. LEONE, individually and as : OF LACK WANNA COUNTY
plenary co-guardians of the Estate and
Person of CALEB LEONE and
CALEB LEONE, Individually, :
Plaintiffs : CIVIL ACTION
: JURY TRIAL DEMANDED

V.

RIDDELL, INC.,
BRG SPORTS, INC.,
RIDDELL SPORTS GROUP, INC.,
RIDDELL/ALL AMERICAN
SPORTS CORPORATION and :
Defendants : NO. 20-CV-3169

COMPLAINT

NOW come Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone, and Caleb Leone, Individually, by
and through their undersigned counsel, Anapol Weiss and Munley Law, P.C., and aver as

follows:

THE PARTIES

1. Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as plenary co-
guardians of the Estate and Person of Caleb Leone and Plaintiff Caleb Leone, Individually
(“Plaintiffs’’) are competent adult individuals and citizens of Pennsylvania with an address at 607

South Broad Street, Jersey Shore, Pennsylvania 17740.
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2. Plaintiffs Danielle M. Leone and Jacob M. Leone were appointed plenary co-
guardians of the Estate and Person of Caleb Leone by the Court of Common Pleas of Lycoming
County on June 4, 2019.

3. Defendant Riddell, Inc., upon information and belief, is an Illinois corporation
with its principal place of business in Illinois. It may be served with process through its
registered agent Corporation Service Company, 211 7th Street, Suite 620, Austin, Texas 78701.
Defendant Riddell, Inc., may also be served with process through its office located at 9801 West
Higgins Road, Suite 800, Rosemont, [Ilinois 60018. Defendant Riddell, Inc., may also be served
with process through its office located at 669 Sugar Lane, Elyria, Ohio 44035. Defendant
Riddell, Inc., may also be served with process through its office located at 4230 Paysphere
Circle, Chicago, Illinois 60674. Defendant Riddell, Inc., may also be served with process
through its office located at 7501 Performance Lane, North Ridgeville, Ohio 44039.

4. Defendant BRG Sports, Inc., upon information and belief, is a Delaware
corporation with its principal place of business in California. It may be served with process
through its registered agent Corporation Service Company, 251 Little Falls Drive, Wilmington,
Delaware 19808. Defendant BRG Sports, Inc., may also be served with process through its office
located at 1700 West Higgins Road, Suite 500, Des Plaines, Illinois 60018 and/or 9801 W.
Higgins Road, Rosemont, Illinois.

5, Defendant Riddell Sports Group, Inc., upon information and belief, is a Delaware
corporation with its principal place of business in Illinois. It may be served with process through
its registered agent Corporation Service Company, 251 Little Falls Drive, Wilmington, Delaware

19808.
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6. Riddell/All American Sports Corporation, upon information and belief, is an
Illinois corporation with its principal place of business in Illinois. It may be served with process
through its registered agent Corporation Service Company, 211 7th Street, Suite 620, Austin,
Texas 78701. Defendant All American Sports Corporation may also be served with process
through its office located at 669 Sugar Lane, Elyria, Ohio 44035. Defendant All American Sports
Corporation may also be served with process through its office located at 4230 Paysphere Circle,
Chicago, Illinois 60674. Defendant All American Sports Corporation may also be served with
process through its office located at 7501 Performance Lane, North Ridgeville, Ohio 44039.

Ts At all times relevant hereto, the Defendant Riddell Sports Group owned Riddell,
Inc. and owned All American Sports. Further, at relevant times, Defendant BRG Sports, Inc., has
been a corporate holding company which controlled, owned and/or operated Riddell, Inc.,
Riddell/All American Sports Corporation and the other named defendants. The Defendants
hereinafter be referred to collectively as the “Riddell Defendants.”

8. The Riddell Defendants regularly, continuously and systemically conduct
business in Lackawanna County.

FACTUAL BACKGROUND

A. Caleb Leone suffered a devastating brain injury due to the defective design,
manufacturing, and marketing of the Helmet by the Riddell Defendants.

9. On or about August 13, 2018, 17-year-old Caleb Leone suited up for varsity
football practice at Jersey Shore High School. Caleb Leone was provided with wore a Riddell
Revolution Speed model helmet that bears a host of stickers placed on the helmet by one or more

of the Defendants.
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10. During a practice on August 14, 2018, Caleb Leone was involved in a play and he
sustained an impact to his helmeted-head. Caleb Leone got up and as he was walking to the
sideline, he collapsed and became unresponsive.

AI. Caleb Leone was transported by ambulance to the Jersey Shore Hospital. Caleb
Leone was then life flighted to Geisinger Medical Center in Danville, Pennsylvania.

12. Upon arrival at Geisinger Medical Center in Danville, Caleb Cesane was
immediately taken into the operating room where he had a craniotomy.

Is. Caleb Leone suffered a severe traumatic brain injury that resulted in Caleb being
paralyzed on the right side of his body. He has been hospitalized extensively and has undergone
multiple surgeries with limited prospects of ever improving. Caleb Leone’s mother, Danielle
Leone missed four (4) months of work to take care of Caleb.

14. _ Ever the fighter both on the field and off, Caleb Leone continues to doggedly
pursue physical therapy to attempt to regain some function. The progress he has made has been
agonizing and required multiple surgeries and a team of doctors, nurses, physical therapists, and
his family’s unwavering support. Despite his best efforts, Caleb Leone still lacks control of most
of his extremities and cannot reliably move his right side. He is unable to speak clearly and uses
signals with his right upper extremity to communicate.

15. Caleb Leone’s injuries are permanent, catastrophic, and life-altering. The
unfortunate reality for Caleb Leone is that he will never live independently as a result of his
injuries and will need continuous care, twenty-four (24) hours a day and seven (7) days a week
for the rest of his life.

16. Caleb Leone is now wheelchair bound.
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17. In the nearly two (2) years since Caleb Leone was hospitalized, the Plaintiffs’
lives have been turned upside down. Caleb Leone has been hospitalized miles from home.

18. Atall times material, Caleb Leone used the Helmet in a reasonably foreseeable
way.

19. At all times material, Plaintiffs were unaware of the actual risks associated with
the Helmet, but the Riddell Defendants were aware that the danger associated with the Helmet
would not be readily recognizable to the ordinary user of the Helmet, like Caleb Leone.

20. As a result of the aforesaid game play and the defectively designed Helmet and
carelessness set forth below, Plaintiff Caleb Leone has suffered, yet suffers and will/may suffer
for an indefinite time in the future injuries including but not limited to: severe traumatic brain
injury, right sided hemiplegia, aphasia, and shock to his nerves and nervous system, all of which
caused him, continue to cause him and will cause him for an indefinite time in the future great
pain, agony and suffering, both physical and mental.

21. Asaresult of the aforesaid Helmet and impact and injuries sustained, Plaintiff
Caleb Leone has been forced to undergo medical treatment, including but not limited to
diagnostic studies, medications, surgeries, and therapies, and will/may be forced to undergo
medical treatment at an undetermined time in the future.

22. Asaresult of the aforesaid Helmet and impact and injuries sustained, Plaintiffs
have expended, yet expends and will/may expend for an indefinite time in the future various and
substantial sums of money for the medicine and medical attention in and about endeavoring to

treat and cure Plaintiff Caleb Leone of his injuries all to their great financial loss and damage.
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23. Asaresult of the aforesaid Helmet and impact and injuries sustained, Plaintiff
Caleb Leone has been, yet is and will/may for an indefinite time in the future, be unable to go
about his usual and daily occupations and routines.

24. As aresult of the aforesaid Helmet and impact and injuries sustained, Plaintiff
Caleb Leone has been, yet is and will/may for an indefinite time in the future be forced to forego
the pleasures of life.

25. As aresult of the aforesaid Helmet and impact and injuries sustained, Plaintiff
Caleb Leone has suffered, yet suffers and will/may continue to suffer wage diminution or
lessening of his earning power and earning capacity and will/may continue to suffer same forever
in the future.

B. The Riddell Defendants knew better than to design, manufacture, and market the
defective Helmet, but ignored its defects and did so anyway.

26. The Defendants are not strangers to catastrophic injuries sustained by football
players like Caleb Leone wearing their products. The Riddell Defendants have known—for
years—that the Revolution line of helmets, which the Helmet is a part of, are defective and do
not adequately protect the brains of adolescents—the targets of much of the Riddell Defendants’
marketing and sales efforts.

27. Both the Helmet’s design and the materials the Helmet is constructed with are
defective. In the years preceding Caleb Leone’s injury, the Defendants have been the subject of
lawsuits and government investigations concerning the design, manufacture, and marketing of
Riddell helmets. The Riddell Defendants have taken no action to take corrective action and/or
warn about flaws in the Helmet even when they had the opportunity to do so as late as 2018

during the recertification process.
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28. As designed, manufactured, marketed, sold, and distributed, the Helmet was
unreasonably dangerous and defective because it lacked a safe means of attenuating and
absorbing the foreseeable forces of impact to minimize or reduce the forces and energy directed
to the brain of a player—like Caleb Leone. Further, the shock attenuating system was not safely
configured based on known data and technologically and economically feasible alternative
designs that are safer. Despite being aware of all of this, the Defendants failed to warn end users
of the Helmet, of the defects, and/or failed to take steps in 2018 when the helmet was in their
possession to address these flaws.

COUNT ONE
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of the

Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell, Inc.
Design Defects

29, The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

30. At the time the Helmet was designed, manufactured, sold, and distributed by the
Riddell Defendants, it was defective in design, unreasonably dangerous, and unsafe for its
intended purpose because it did not provide adequate protection against the foreseeable risk of
brain injury. It was legally defective because it did not provide the level of safety which an
ordinary consumer would expect and/or because its design encompassed unreasonable risks that
outweighed the benefits of its inadequate design. Factually, the design defect includes, but is not
limited to the following:

a. failing to design and manufacture the Helmet with a safe means of attenuating
and absorbing the foreseeable forces so that upon impact the Helmet would
minimize and/or reduce the force and energy directed to the brain;

b. designing and manufacturing the Helmet with a shock attenuating system that
was not as safely configured as it could and should have been;
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c. failing to properly and adequately test the Helmet; and

d. other defects in the design and manufacture of the Helmet that may be
discovered during the course of this matter.

31. These defects rendered the Helmet unreasonably dangerous as designed taking
into account the consumers’ expectations and/or the utility of the product and the risks involved.

32. There was a safer alternative design that in all reasonable probability would have
prevented or significantly reduced the risk of the injury in question without substantially
impairing the Helmet’s utility. The alternative design was economically and technologically
feasible at the time the Helmet left the control of Defendant Riddell, Inc.

33. The above-referenced design defects were the producing cause of Caleb Leone’s
injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually,
demand judgment against Defendant Riddell, Inc., jointly and severally, in an amount in excess
of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT TWO
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell, Inc.
Manufacturing Defects

34. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

35. At the times the Helmet left the possession of Defendant Riddell, Inc., the Helmet
deviated in its construction or quality in a manner that rendered it unreasonably dangerous.

36. This manufacturing defect rendered the Helmet dangerous beyond what an
ordinary user of the Helmet, with ordinary knowledge common to the community, would have

anticipated concerning the product’s characteristics.

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37. The above-referenced manufacturing defect was the producing cause of Caleb
Leone’s injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell, Inc., jointly and severally, in an amount in excess
of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT THREE
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell, Inc.
Marketing Defect

38. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

39. At the times the Helmet left the possession of Defendant Riddell, Inc., Defendant
Riddell, Inc., knew or should have known of a risk of harm presented by the Helmet.

40. Defendant Riddell, Inc., marketed the Helmet without adequately warning of the
danger or providing instructions for safe use.

41. This marketing defect rendered the Helmet dangerous beyond what an ordinary
user of the Helmet, with ordinary knowledge common to the community would have anticipated
concerning the product’s characteristics.

42. The above-referenced marketing defect was the producing cause of Caleb Leone’s
injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell, Inc., jointly and severally, in an amount in excess

of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

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COUNT FOUR
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of
the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell, Inc.

Negligence
43. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.
44. _—_ Defendant Riddell, Inc., was negligent in their design, testing, manufacture,
marketing, distribution, sale, and/or inspection and recertification of the subject Helmet in the
following respects:

a. failing to design and manufacture the Helmet with a safe means of attenuating
and absorbing the foreseeable forces so that upon impact the helmet would
minimize and/or reduce the force and energy directed to the brain;

b. designing and manufacturing the Helmet with a shock attenuating system
which was not as safely configured as the Riddell Defendants’ other products;

c. failing to properly and adequately test the Helmet;

d. failing to properly and adequately modify the design of the shock absorbing
characteristics of the Helmet to provide a helmet which is capable of
attenuating and absorbing the foreseeable forces of tackle plays during football
and which can result in a brain injury to a player—including but not limited
during the original manufacture and/or during the recertification process;

e. failing to provide appropriate and necessary instructional materials and
warnings regarding the use of the Helmet in a fashion which would reduce or
minimize the risk of brain injuries;

f. failing to provide appropriate information, warnings and/or instructions
regarding the fact that other model helmets provided greater shock attenuation,
thereby reducing the energy the Helmet allows to be delivered to the brain; and

g. other acts of negligence that may be discovered during the course of this
matter.

45. Each of these acts and omissions by Defendant Riddell, Inc., singularly or in
combination with others, constituted negligence that proximately caused Caleb Leone’s

extensive injuries and Plaintiffs’ damages.

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WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell, Inc., jointly and severally, in an amount in excess
of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT FIVE
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell, Inc.
Punitive Damages

46. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

47. Defendants’ tortious conduct was malicious, fraudulent, and/or grossly negligent.

48. Defendants’ malicious, fraudulent, and/or grossly negligent conduct was carried
out by Defendants personally, through Defendants’ authorized agents, employees, managers,
officers, directors, vice-principals, and/or principals of the Defendants who were acting within
the course and scope of their agency, employment, partnership, and/or joint venture.
Alternatively, Defendants’ malicious, fraudulent, and/or grossly negligent conduct was
subsequently approved by or ratified by Defendants.

49. Defendants intentionally breached the legal duties they owed Plaintiffs such that
they could take undue advantage of Plaintiffs and/or otherwise maliciously treat Plaintiffs. The
acts or omissions of Defendants, when viewed objectively from the Defendants’ standpoint,
involved an extreme degree of risk when considering the probability and magnitude of the
potential harm to Plaintiff and others.

50. Additionally, Defendants had actual, subjective awareness of the risk to Plaintiffs
and others but proceeded anyway with a conscience indifference to the rights, safety, or welfare

of Plaintiffs and others.

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51. Defendants’ conduct was performed and/or designed with a specific intent to
cause substantial injury or harm to Plaintiffs. As alleged herein, Defendants’ conduct is an
example of why punitive damages exist, and Plaintiffs allege that Defendants’ conduct rises to
the level warranting the imposition of exemplary damages against Defendants at trial.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell, Inc., jointly and severally, in an amount in excess
of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT SIX
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v.
BRG Sports, Inc.

Design Defects

52. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

53. At the time the Helmet was designed, manufactured, sold, and distributed by
Defendant BRG Sports, Inc., it was defective in design, unreasonably dangerous, and unsafe for
its intended purpose because it did not provide adequate protection against the foreseeable risk of
brain injury. It was legally defective because it did not provide the level of safety which an
ordinary consumer would expect and/or because its design encompassed unreasonable risks that
outweighed the benefits of its inadequate design. Factually, the design defect includes, but is not
limited to the following:

a. failing to design and manufacture the Helmet with a safe means of attenuating
and absorbing the foreseeable forces so that upon impact the Helmet would
minimize and/or reduce the force and energy directed to the brain;

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b. designing and manufacturing the Helmet with a shock attenuating system that
was not as safely configured as it could and should have been;

c. failing to properly and adequately test the Helmet; and

d. other defects in the design and manufacture of the Helmet that may be
discovered during the course of this matter.

54. These defects rendered the Helmet unreasonably dangerous as designed taking
into account the consumers’ expectations and/or the utility of the product and the risks involved.

55. There was a safer alternative design that in all reasonable probability would have
prevented or significantly reduced the risk of the injury in question without substantially
impairing the Helmet’s utility. The alternative design was economically and technologically
feasible at the time the Helmet left the control of Defendant BRG Sports, Inc..

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant BRG Sports, Inc., jointly and severally, in an amount in
excess of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT SEVEN
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of
the Estate and Person of Caleb Leone and Caleb Leone, Individually v.

BRG Sports, Inc.
Manufacturing Defects

56. The above-referenced design defects were the producing cause of Caleb Leone’s
injuries and Plaintiffs’ damages.

57. At the times the Helmet left the possession of BRG Sports, Inc., the Helmet
deviated in its construction or quality in a manner that rendered it unreasonably dangerous.

58. This manufacturing defect rendered the Helmet dangerous beyond what an
ordinary user of the Helmet, with ordinary knowledge common to the community, would have

anticipated concerning the product’s characteristics.

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59. The above-referenced manufacturing defect was the producing cause of Caleb
Leone’s injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant BRG Sports, Inc., jointly and severally, in an amount in
excess of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT EIGHT
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of
the Estate and Person of Caleb Leone and Caleb Leone, Individually v.

BRG Sports, Inc.
Marketing Defect

60. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

61. At the times the Helmet left the possession of Defendant BRG Sports, Inc.,
Defendant BRG Sports, Inc., knew or should have known of a risk of harm presented by the
Helmet.

62. Defendant BRG Sports, Inc., marketed the Helmet without adequately warning of
the danger or providing instructions for safe use.

63. This marketing defect rendered the Helmet dangerous beyond what an ordinary
user of the Helmet, with ordinary knowledge common to the community would have anticipated
concerning the product’s characteristics.

64. The above-referenced marketing defect was the producing cause of Caleb Leone’s
injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as

plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually

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demand judgment against Defendant BRG Sports, Inc., jointly and severally, in an amount in
excess of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT NINE
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of
the Estate and Person of Caleb Leone and Caleb Leone, Individually v.
BRG Sports, Inc.

Negligence

65. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

66. Defendant BRG Sports, Inc., was negligent in their design, testing, manufacture,
marketing, distribution, sale and/or inspection and recertification of the subject Helmet in the
following respects:

a. failing to design and manufacture the Helmet with a safe means of attenuating
and absorbing the foreseeable forces so that upon impact the helmet would
minimize and/or reduce the force and energy directed to the brain;

b. designing and manufacturing the Helmet with a shock attenuating system
which was not as safely configured as the Riddell Defendants’ other products;

c. failing to properly and adequately test the Helmet;

d. failing to properly and adequately modify the design of the shock absorbing
characteristics of the Helmet to provide a helmet which is capable of
attenuating and absorbing the foreseeable forces of tackle plays during football
and which can result in a brain injury to a player—including but not limited
during the original manufacture and/or during the recertification process;

e. failing to provide appropriate and necessary instructional materials and
warnings regarding the use of the Helmet in a fashion which would reduce or
minimize the risk of brain injuries;

f. failing to provide appropriate information, warnings and/or instructions
regarding the fact that other model helmets provided greater shock attenuation,
thereby reducing the energy the Helmet allows to be delivered to the brain; and

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g. other acts of negligence that may be discovered during the course of this
matter.

67. Each of these acts and omissions by Defendant BRG Sports, Inc., singularly or in
combination with others, constituted negligence that proximately caused Caleb Leone’s
extensive injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant BRG Sports, Inc., jointly and severally, in an amount in
excess of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT TEN
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of
the Estate and Person of Caleb Leone and Caleb Leone, Individually v.

BRG Sports, Inc.
Punitive Damages

68. | The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

69. Defendants’ tortious conduct was malicious, fraudulent, and/or grossly negligent.

70. Defendants’ malicious, fraudulent, and/or grossly negligent conduct was carried
out by Defendants personally, through Defendants’ authorized agents, employees, managers,
officers, directors, vice-principals, and/or principals of the Defendants who were acting within
the course and scope of their agency, employment, partnership, and/or joint venture.
Alternatively, Defendants’ malicious, fraudulent, and/or grossly negligent conduct was
subsequently approved by or ratified by Defendants.

Fils Defendants intentionally breached the legal duties they owed Plaintiffs such that
they could take undue advantage of Plaintiffs and/or otherwise maliciously treat Plaintiffs. The

acts or omissions of Defendants, when viewed objectively from the Defendants’ standpoint,

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involved an extreme degree of risk when considering the probability and magnitude of the
potential harm to Plaintiff and others.

72. Additionally, Defendants had actual, subjective awareness of the risk to Plaintiffs
and others but proceeded anyway with a conscience indifference to the rights, safety, or welfare
of Plaintiffs and others.

73. Defendants’ conduct was performed and/or designed with a specific intent to
cause substantial injury or harm to Plaintiffs. As alleged herein, Defendants’ conduct is an
example of why punitive damages exist, and Plaintiffs allege that Defendants’ conduct rises to
the level warranting the imposition of exemplary damages against Defendants at trial.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant BRG Sports, Inc., jointly and severally, in an amount in
excess of $75,000.00 plus interest, costs and such other relief as this Court deems appropriate.

COUNT ELEVEN
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of
the Estate and Person of Caleb Leone and Caleb Leone, Individually v.

Riddell Sports Group, Inc.
Design Defects

74. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

75. At the time the Helmet was designed, manufactured, sold, and distributed by
Defendant Riddell Sports Group, Inc., it was defective in design, unreasonably dangerous, and
unsafe for its intended purpose because it did not provide adequate protection against the
foreseeable risk of brain injury. It was legally defective because it did not provide the level of

safety which an ordinary consumer would expect and/or because its design encompassed

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unreasonable risks that outweighed the benefits of its inadequate design. Factually, the design
defect includes, but is not limited to the following:

a. failing to design and manufacture the Helmet with a safe means of attenuating
and absorbing the foreseeable forces so that upon impact the Helmet would
minimize and/or reduce the force and energy directed to the brain;

b. designing and manufacturing the Helmet with a shock attenuating system that
was not as safely configured as it could and should have been;

c. failing to properly and adequately test the Helmet; and

d. other defects in the design and manufacture of the Helmet that may be
discovered during the course of this matter.

76. The defects rendered the Helmet unreasonably dangerous as designed taking into
account the consumers’ expectations and/or the utility of the product and the risks involved.

77. | There was a safer alternative design that in all reasonable probability would have
prevented or significantly reduced the risk of the injury in question without substantially
impairing the Helmet’s utility. The alternative design was economically and technologically
feasible at the time the Helmet left the control of Defendant Riddell Sports Group, Inc.

78. The above-referenced design defects were the producing cause of Caleb Leone’s
injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually,
demand judgment against Defendant Riddell Sports Group, Inc., jointly and severally, in an
amount in excess of $75,000.00 plus interest, costs and such other relief as this Court deems
appropriate.

COUNT TWELVE
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v.
Riddell Sports Group, Inc.

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Manufacturing Defects

79. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

80. At the times the Helmet left the possession of the Defendant Riddell Sports
Group, Inc., the Helmet deviated in its construction or quality in a manner that rendered it
unreasonably dangerous.

81. This manufacturing defect rendered the Helmet dangerous beyond what an
ordinary user of the Helmet, with ordinary knowledge common to the community, would have
anticipated concerning the product’s characteristics.

82. The above-referenced manufacturing defect was the producing cause of Caleb
Leone’s injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell Sports Group, Inc., jointly and severally, in an
amount in excess of $75,000.00 plus interest, costs and such other relief as this Court deems
appropriate.

COUNT THIRTEEN
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of
the Estate and Person of Caleb Leone and Caleb Leone, Individually v.

Riddell Sports Group, Inc.
Marketing Defect

83. The preceding paragraphs above are incorporated herein by reference as if fully

set forth here at length.

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84. At the times the Helmet left the possession of Defendant Riddell Sports Group,
Inc., Defendant Riddell Sports Group, Inc. knew or should have known of a risk of harm
presented by the Helmet.

85. Defendant Riddell Sports Group, Inc., marketed the Helmet without adequately
warning of the danger or providing instructions for safe use.

86. This marketing defect rendered the Helmet dangerous beyond what an ordinary
user of the Helmet, with ordinary knowledge common to the community would have anticipated
concerning the product’s characteristics.

87. The above-referenced marketing defect was the producing cause of Caleb Leone’s
injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell Sports Group, Inc., jointly and severally, in an
amount in excess of $75,000.00 plus interest, costs and such other relief as this Court deems
appropriate.

COUNT FOURTEEN
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v.
Riddell Sports Group, Inc.

Negligence

88. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

89. Defendant Riddell Sports Group, Inc., was negligent in their design, testing,
manufacture, marketing, distribution, sale, and/or inspection and recertification of the subject

Helmet in the following respects:

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90.

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failing to design and manufacture the Helmet with a safe means of attenuating
and absorbing the foreseeable forces so that upon impact the helmet would
minimize and/or reduce the force and energy directed to the brain;

designing and manufacturing the Helmet with a shock attenuating system
which was not as safely configured as the Riddell Defendants’ other products;

failing to properly and adequately test the Helmet;

failing to properly and adequately modify the design of the shock absorbing
characteristics of the Helmet to provide a helmet which is capable of
attenuating and absorbing the foreseeable forces of tackle plays during football
and which can result in a brain injury to a player—including but not limited
during the original manufacture and/or during the recertification process;

failing to provide appropriate and necessary instructional materials and
warnings regarding the use of the Helmet in a fashion which would reduce or
minimize the risk of brain injuries;

failing to provide appropriate information, warnings and/or instructions
regarding the fact that other model helmets provided greater shock attenuation,
thereby reducing the energy the Helmet allows to be delivered to the brain; and

other acts of negligence that may be discovered during the course of this
matter.

Each of these acts and omissions by Defendant Riddell Sports Group, Inc.,

singularly or in combination with others, constituted negligence that proximately caused Caleb

Leone’s extensive injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as

plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually

demand judgment against Defendant Riddell Sports Group, Inc., jointly and severally, in an

amount in excess of $75,000.00 plus interest, costs and such other relief as this Court deems

appropriate.

COUNT FIFTEEN

Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v.

Riddell Sports Group, Inc.

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Punitive Damages

91. | The preceding paragraphs above are incorporated herein by reference as if fully

set forth here at length.
92. Defendants’ tortious conduct was malicious, fraudulent, and/or grossly negligent.
93. Defendants’ malicious, fraudulent, and/or grossly negligent conduct was carried

out by Defendants personally, through Defendants’ authorized agents, employees, managers,
officers, directors, vice-principals, and/or principals of the Defendants who were acting within
the course and scope of their agency, employment, partnership, and/or joint venture.
Alternatively, Defendants’ malicious, fraudulent, and/or grossly negligent conduct was
subsequently approved by or ratified by Defendants.

94. Defendants intentionally breached the legal duties they owed Plaintiffs such that
they could take undue advantage of Plaintiffs and/or otherwise maliciously treat Plaintiffs. The
acts or omissions of Defendants, when viewed objectively from the Defendants’ standpoint,
involved an extreme degree of risk when considering the probability and magnitude of the
potential harm to Plaintiff and others.

95. Additionally, Defendants had actual, subjective awareness of the risk to Plaintiffs
and others but proceeded anyway with a conscience indifference to the rights, safety, or welfare
of Plaintiffs and others.

96. Defendants’ conduct was performed and/or designed with a specific intent to
cause substantial injury or harm to Plaintiffs. As alleged herein, Defendants’ conduct is an
example of why punitive damages exist, and Plaintiffs allege that Defendants’ conduct rises to

the level warranting the imposition of exemplary damages against Defendants at trial.

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WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell Sports Group, Inc., jointly and severally, in an
amount in excess of $75,000.00 plus interest, costs and such other relief as this
Court deems appropriate.

COUNT SIXTEEN

Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell/All

American Sports Corporation
Design Defects

97. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

98. At the time the Helmet was designed, manufactured, sold, and distributed by
Defendant Riddell/All American Sports Corporation, it was defective in design, unreasonably
dangerous, and unsafe for its intended purpose because it did not provide adequate protection
against the foreseeable risk of brain injury. It was legally defective because it did not provide the
level of safety which an ordinary consumer would expect and/or because its design encompassed
unreasonable risks that outweighed the benefits of its inadequate design. Factually, the design
defect includes, but is not limited to the following:

a. failing to design and manufacture the Helmet with a safe means of attenuating
and absorbing the foreseeable forces so that upon impact the Helmet would
minimize and/or reduce the force and energy directed to the brain;

b. designing and manufacturing the Helmet with a shock attenuating system that
was not as safely configured as it could and should have been;

c. failing to properly and adequately test the Helmet; and

d. other defects in the design and manufacture of the Helmet that may be
discovered during the course of this matter.

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99. These defects rendered the Helmet unreasonably dangerous as designed taking
into account the consumers’ expectations and/or the utility of the product and the risks involved.

100. There was a safer alternative design that in all reasonable probability would have
prevented or significantly reduced the risk of the injury in question without substantially
impairing the Helmet’s utility. The alternative design was economically and technologically
feasible at the time the Helmet left the control of Defendant Riddell/All American Sports
Corporation.

101. The above-referenced design defects were the producing cause of Caleb Leone’s
injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell/All American Sports Corporation, jointly and
severally, in an amount in excess of $75,000.00 plus interest, costs and such other relief as this
Court deems appropriate.

COUNT SEVENTEEN

Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell/All

American Sports Corporation
Manufacturing Defects

102. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

103. At the times the Helmet left the possession of the Defendant Riddell/All
American Sports Corporation, the Helmet deviated in its construction or quality in a manner that

rendered it unreasonably dangerous.

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104. This manufacturing defect rendered the Helmet dangerous beyond what an
ordinary user of the Helmet, with ordinary knowledge common to the community, would have
anticipated concerning the product’s characteristics.

105. The above-referenced manufacturing defect was the producing cause of Caleb
Leone’s injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell/All American Sports Corporation, jointly and
severally, in an amount in excess of $75,000.00 plus interest, costs and such other relief as this
Court deems appropriate.

COUNT EIGHTEEN

Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell/All

American Sports Corporation
Marketing Defect

106. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

107. At the times the Helmet left the possession of Defendant Riddell/All American
Sports Corporation, Defendant Riddell/All American Sports Corporation, knew or should have
known of a risk of harm presented by the Helmet.

108. Defendant Riddell/All American Sports Corporation, marketed the Helmet
without adequately warning of the danger or providing instructions for safe use.

109. This marketing defect rendered the Helmet dangerous beyond what an ordinary
user of the Helmet, with ordinary knowledge common to the community would have anticipated

concerning the product’s characteristics.

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110. The above-referenced marketing defect was the producing cause of Caleb Leone’s
injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell/All American Sports Corporation, jointly and
severally, in an amount in excess of $75,000.00 plus interest, costs and such other relief as this
Court deems appropriate.

COUNT NINETEEN
Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of
the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell/All
American Sports Corporation

Negligence

111. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

112. Defendant Riddell/All American Sports Corporation, was negligent in their
design, testing, manufacture, marketing, distribution, sale, and/or inspection and recertification
of the subject Helmet in the following respects:

a. failing to design and manufacture the Helmet with a safe means of attenuating
and absorbing the foreseeable forces so that upon impact the helmet would
minimize and/or reduce the force and energy directed to the brain;

b. designing and manufacturing the Helmet with a shock attenuating system
which was not as safely configured as the Riddell Defendants’ other products;

c. failing to properly and adequately test the Helmet;

d. failing to properly and adequately modify the design of the shock absorbing
characteristics of the Helmet to provide a helmet which is capable of
attenuating and absorbing the foreseeable forces of tackle plays during football
and which can result in a brain injury to a player—including but not limited
during the original manufacture and and/or during the recertification process;

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e. failing to provide appropriate and necessary instructional materials and
warnings regarding the use of the Helmet in a fashion which would reduce or
minimize the risk of brain injuries;

f. failing to provide appropriate information, warnings and/or instructions
regarding the fact that other model helmets provided greater shock attenuation,
thereby reducing the energy the Helmet allows to be delivered to the brain; and

g. other acts of negligence that may be discovered during the course of this
matter.

113. Each of these acts and omissions by Defendant Riddell/All American Sports
Corporation, singularly or in combination with others, constituted negligence that proximately
caused Caleb Leone’s extensive injuries and Plaintiffs’ damages.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually
demand judgment against Defendant Riddell/All American Sports Corporation, jointly and
severally, in an amount in excess of $75,000.00 plus interest, costs and such other relief as this
Court deems appropriate.

COUNT TWENTY

Danielle M. Leone and Jacob M. Leone, individually and as plenary co-guardians of

the Estate and Person of Caleb Leone and Caleb Leone, Individually v. Riddell/All

American Sports Corporation
Punitive Damages

114. The preceding paragraphs above are incorporated herein by reference as if fully
set forth here at length.

115. Defendants’ tortious conduct was malicious, fraudulent, and/or grossly negligent.

116. Defendants’ malicious, fraudulent, and/or grossly negligent conduct was carried
out by Defendants personally, through Defendants’ authorized agents, employees, managers,
officers, directors, vice-principals, and/or principals of the Defendants who were acting within

the course and scope of their agency, employment, partnership, and/or joint venture.

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Alternatively, Defendants’ malicious, fraudulent, and/or grossly negligent conduct was
subsequently approved by or ratified by Defendants.

117. Defendants intentionally breached the legal duties they owed Plaintiffs such that
they could take undue advantage of Plaintiffs and/or otherwise maliciously treat Plaintiffs. The
acts or omissions of Defendants, when viewed objectively from the Defendants’ standpoint,
involved an extreme degree of risk when considering the probability and magnitude of the
potential harm to Plaintiff and others.

118. Additionally, Defendants had actual, subjective awareness of the risk to Plaintiffs
and others but proceeded anyway with a conscience indifference to the rights, safety, or welfare
of Plaintiffs and others.

119. Defendants’ conduct was performed and/or designed with a specific intent to
cause substantial injury or harm to Plaintiffs. As alleged herein, Defendants’ conduct is an
example of why punitive damages exist, and Plaintiffs allege that Defendants’ conduct rises to
the level warranting the imposition of exemplary damages against Defendants at trial.

WHEREFORE, Plaintiffs Danielle M. Leone and Jacob M. Leone, individually and as
plenary co-guardians of the Estate and Person of Caleb Leone and Caleb Leone, Individually,
demand judgment against Defendant Riddell/All American Sports Corporation, jointly and
severally, in an amount in excess of $75,000.00 plus interest, costs and such other relief as this

Court deems appropriate.

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VERIFICATION

| hereby depose and state that | am a Plaintiff in the above-captioned action and
that the factual statements in the foregoing Complaint are true and correct to the best of
my knowledge, information and belief. | understand that this statement is made subject

to the penalties of 18 Pa.C.S. Sec. 4904, relating to unsworn falsification to authorities.

Danielle M. Leone, Individual
Plenary co-guardians of the Estate and
Person of Caleb Leone and Caleb Leone
individually

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Jacob M. Leone, Individually and as
Plenary co-guardians of the Estate and
Person of Caleb Leone and Caleb Leone,
individually

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CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential
information and documents.

Submitted by: Miaintitt /)
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Signature:

Name: Marjon Munley ij
Attorney No. (if applicable): 46957

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